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                                   STATEMENT OF FACTS

On June 18, 2018, approximately 12:42 p.m., an individual later identified as ALEXANDER
MINER (hereinafter MINER or “Defendant”) jumped the fence separating the Ellipse from E
Street N.W. near the south lawn of the White House in Washington D.C.

The White House complex, which includes, among other things, the White House Mansion, and
the White House grounds, is a restricted area in Washington, D.C. Only people with authorized
access are permitted inside the White House Complex, which has an exterior fence surrounding
it. There are also concrete “Jersey” barriers at the south end of E Street N.W., which have fences
on top of them. DEFENDANT jumped over one of these barriers separating E Street from the
Ellipse. There were posted signs on the fence the defendant jumped over that stated, "Restricted
Area, Do Not Enter."

United States Secret Service (“USSS”) Officer Haines was off-duty driving east on the Ellipse
when he saw a bearded individual, later identified as the Defendant, walking north on E Street
when he saw a bearded individual, later identified as the defendant, walking towards the White
House south fence with his arms in the air, shouting “shoot me, shoot me!” Officer Haines noted
that the defendant was between the Jersey barrier and south fence line, and he was approached
by a member of the USSS rifle team. Office Haines drew his weapon and provided cover as the
defendant was ordered to a prone position and handcuffed.

MINER was initially in possession of a backpack, which he discarded prior to crossing E Street.
That backpack was later searched, and no weapons or contrabands were found therein. The
defendant placed under arrest and was searched incident thereto, and no weapons were found.
The Defendant was identified via California driver’s license as ALEXANDER MINER.

The defendant was transported to Metropolitan Police Department, Second District, and taken to
an interview room. He was read and waived his Miranda rights, and agreed to be interviewed by
USSS agents.

Over the course of that interview, the defendant stated that he traveled from California to
Nashville, TN, where he was arrested for attempting to fly intoxicated. He traveled by air from
Nashville, TN to Richmond, VA with a stop in Philadelphia, PA. MINER stated that he has been
in Washington, D.C. for a couple of days, living in the area of the Ellipse.

The defendant stated he was on a mission from God. He said he did not receive any auditory
commands, but that he received communication from the birds and sky. He stated that God was
furious and that Trump is the Anti-Christ. The defendant stated that he received orders from
God to “resist tyranny,” and noted that “God’s not going to stop.” He also claimed that President
Trump had harassed him through campaign emails and that Hillary Clinton and Barack Obama
were child molesters.

When asked about the events leading to his arrest, the defendant continued that he had been
speaking with an individual near the Zero Milestone marker at the north end of the Ellipse. The
stated that during this conversation, someone stated words to the effect that they did not believe
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in God and they were doing fine. The defendant did not like that statement, and responded by
saying, “Do you want to se if God is real?” At that point, the defendant dropped his belongings,
crossed over a chain fence, crossed the Ellipse drive, then crossed over a Jersey barrier dividing
the Ellipse and E Street.

The defendant stated that he did not want to be shot by officers. When asked what he aimed to
accomplish, the defendant stated that had he not been stopped, he wanted to scale the White
House fence, make his way into the White House, and make his way into the Oval Office and
slap/punch President Trump in the face, to “make him cry like a bitch.” MINER also stated that
he wanted to drag President Trump in front of a camera and let people know that President
Trump is the Anti-Christ. The defendant continued that he did not want to kill President Trump,
but that President Trump “needs to die.”

The defendant mentioned a woman’s name (“W-1”) several times during the course of his
interview, and he said that he has a history going back with her from the time he was 12 years
old. He said that she had pushed him away at some point in their friendship, but he reconnected
with her via social networking and saw that she is dating someone.

Your affiant is aware that the Chesterfield County Police Department in Virginia is investigating
contact between the defendant and W-1. The investigation began on June 5, 2018. At that point,
W-1 told police that the defendant had sent her 150-200 Facebook messages between 6:35 and
7:30 on that date. W-1 stated that she had been messaging with the defendant on and off for
years, but had never met him. She stated that the defendant knocked on her door at
approximately 9:00 a.m. on June 4, 2018. W-1 stated that there is no reason for the defendant to
know where she lives.

According to the Chesterfield County Police Report, the defendant sent the following text
messages, among numerous others, all within an hour, to W-1:

      Fuck You
      FUCK THE GOVERNMENT, FUCK ALL OF YOU
      BURN IN HELL
      YOU WILL AND YOU KNOW IT
      KNEEL
      YOU PIECE OF SATANIC SHIT
      I’M GOING TO RIP YOU IN 2
      I’M GOING TO MAKE YOU WISH YOU WERE NEVER BORN
      YOU COWARDLY CUYNT
      I WILL OBLITERATE YOU
      I WILL RIP YOU INTO PIECES
      IT IT:S THE LAST THING I DO
      I WILL MAKE YOU WISH YOU WERE NEVER BORN
      YOU AINT SHIT AND YOU KNOW IT
      I WILL MAKE YOU WISH HELL WAS REAL
      I am going to obliterate you kid
      Obama, Trumo
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      Hillary
      Biden
      Get on your fucking knees you cunts
      I don’t bluff bitch
      You fuck me, I fuck your entire existance bitch
      You sack of shit
      You better start begging for mercy
      I’m gonna rip you limb from limb
      You fat, lying piece of shit
      I will rape you across the coals of hell
      God is calling upon all people to rise up and SPEAK with their actions

USSS agents also contacted the defendant’s family in California on June 18, 2018. The
defendant’s father reported that the defendant was a retired Marine and that he had filed a
missing person’s report for MINER approximately three months prior. Defendant’s father
reported that he has “gone off the deep end” and may be paranoid schizophrenic. The
defendant’s father reported that he is heavily trained, tech savvy, and dangerous. He also noted
that the defendant does not have a car and posited that he hitch-hiked across the country.

Your affiant is aware that the defendant would have had to cross four separate fences between
the “Zero Milestone” and where the defendant was stopped by USSS officers. Based on the
foregoing, your affiant submits that there is probable cause to believe that the defendant violated
18 U.S.C. § 1752(a)(1) and D.C. Code § 22-1803 (by attempting to violate D.C. Code § 22-
801(a))




                                              __________________________________________
                                              Michael Haines
                                              Officer, United States Secret Service




Sworn and subscribed to me before this ________________ day of June, 2018.




                                              __________________________________________
                                              The Honorable Robin M. Meriweather
                                              United States Magistrate Judge
